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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-01149-ODW(RAOx)                                         Date   March 21, 2023
 Title             Multiple Energy Technologies, LLC v. Seth Casden




 Present: The                    OTIS D. WRIGHT II, UNITED STATES DISTRICT JUDGE
 Honorable
                       Sheila English                                        COURT SMART
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
       Nicole A. Sullivan/ Bethany M. Stevens                     Scott K Behrendt/ Jessica S Diotalevi
                                                                          Kyle Richard Bevan
 Proceedings:                 STATUS CONFERENCE RE: PRETRIAL CONFERENCE

       The Court and counsel retires to chambers separately for further discussions off the
record.

Later:
       The Court will contact magistrate Judge Oliver to conduct a settlement hearing for the
parties.


         The Jury Trial will remain on calendar as currently set: June 20, 2023 at 9:00 a.m.


IT IS SO ORDERED.




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